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                                    EXHIBIT A
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         DEFENDANT'S NOTICE OF REMOVAL - 4              Law Office of James F. Whitehead
                                                                 PO BOX 84567
                                                                Seattle, WA 98124
                                                                 (206) 448-0 I 00
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                  IN THE SUPERIOR COURT OF TE STATE OF WASHINGTON
7                         IN AND FOR THE COUNTY OF WHATCOM

 8   SEACLEAR INDUSTRIES MFG, INC, a
     Washington corporation,                               NO.
 9
                                  Plaintiff,               COMPLAINT
IO          V.
11
      FEDEX FREIGHT, INC., an Arkansas
12    corporation.
13                                 Defendant.
14          Plaintiff, Seaclear Industries Mfg, Inc ("Seaclear"), alleges as follows:
15                                              I. PARTIES
16          1.1     Seaclear is an active Washington corporation. It has satisfied all conditions
17   precedent to maintaining this action.
18          1.2     Defendant FedEx Freight, Inc. ("FedEx") is, upon information and belief, an
19   Arkansas corporation authorized to do business in the State of Washington.
20                                 II. VENUE AND JURISDICTION
21          2.1     Venue is proper in Whatcom County because, by way of example and not
22   limitation, it is the county in which the cause of action arose.
23          2.2     By way of example and not limitation, this Court has personal jurisdiction over
24   Defendant because it conducts business in the State of Washington, executed contracts


      COMPLAINT - I                                                        NOLD♦ MUCHJNSKY PLLC
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                                                                              Bellevue, WA 98004
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     governing goods shipped in interstate commerce from the State of Washington, and

2    committed violations of the Interstate Commerce Act in the State of Washington.

3           2.3      This Court has subject matter jurisdiction because this is an action seeking

4    legal and equitable relief.

 5                                             III. FACTS

6           3.1      Seaclear is one of the region's most innovative glass design and manufacturing

7    companies. For more than 30 years, it has provided first-class marine products to businesses

8    and government agencies across the United States, including electrically-heated film and

 9   glass, window frames, anti-fog films, glass fabrication, heaters, and defoggers. In addition,

10   Seaclear provides marine services and repairs; including window resealing, corrosion repair,

11   and frame modification.

12           3.2     FedEx provides truckload freight transportation throughout the United States,

13   including the State of Washington. In addition, upon information and belief, FedEx has

14   shipment and distribution centers in Whatcom County, Washington.

15           3.3     Seaclear has maintained an account and has utilized FedEx as its primary

16   carrier for more than 10 years.

17           3.4     On or about July 9, 202 l, Seaclear and FedEx executed a Uniform Straight Bill

18   of Lading ("Bill of Lading"), in which FexEx acknowledged receipt of a crate of marine

19   windows ("Windows" or "Goods") from Seaclear, to be shipped to receiver and consignee,

20   Gulflsland Fabrication ("Gulflsland"), a fabricator of marine vessels. FedEx agreed to ship

21   the Windows from Seaclear's manufacturing plant in Bellingham, Washington, to Gulf Island

22   receiving in Houma, Louisiana ("Shipping Destination"). The Windows were valued at more

23   than $60,000.

24           3.5     FedEx loaded and took possession of the Windows that same day.


      COMPLAINT - 2                                                        NOLD♦ MUCHJNSKV PLLC
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